            Case 1:24-cv-01121-TAM Document 4 Filed 02/13/24 Page 1 of 2 PageID #: 24

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                        Joshua Adams                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 24-cv-1121 TAM
                                                                     )
    8219 Realty Inc. And Le Sajj Restaurant, Corp.,                  )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) 8219 Realty Inc.
                                           8219 5th Avenue,
                                           Brooklyn, NY, United States, 11209




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jennifer E. Tucek,
                                           Law Office of Jennifer Tucek PC
                                           315 Madison Ave., #3054 NY, NY 10017 (917) 669-6991
                                           TucekLaw@Gmail.Com



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT


Date:    02/13/2024                                                             s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
            Case 1:24-cv-01121-TAM Document 4 Filed 02/13/24 Page 2 of 2 PageID #: 25

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                        Joshua Adams                                 )
                                                                     )
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                            Plaintiff(s)                             )
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                                v.                                           Civil Action No. 24-cv-1121 TAM
                                                                     )
    8219 Realty Inc. And Le Sajj Restaurant, Corp.,                  )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Le Sajj Restaurant, Corp.
                                           8221 5th Avenue,
                                           Brooklyn, NY, United States, 11209




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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                                                                                CLERK OF COURT


Date:    02/13/2024                                                             s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
